        Case 2:22-cv-00025-SMJ       ECF No. 1   filed 02/17/22   PageID.1 Page 1 of 30




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 7
                              UNITED STATES DISTRICT COURT
 8
                            EASTERN DISTRICT OF WASHINGTON
 9   MARTIN BANDY,
                        Plaintiff,                  NO.
10
           v.                                       CLASS ACTION COMPLAINT
11
     ALLIANCE FOR SHARED HEALTH, INC.,              JURY DEMAND
12   and CHRISTIAN DISCOUNT ALLIANCE,
     LLC d/b/a SHARED HEALTH ALLIANCE,
13
                        Defendants.
14

15

16                                   I.    INTRODUCTION

17         1.    This is a class action brought on behalf of individuals who acquired

18   healthcare plans from or through Defendants Alliance for Shared Health, Inc., or

19   Christian Discount Alliance, LLC d/b/a Shared Health Alliance. Defendants

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     CLASS ACTION COMPLAINT ‐ 1
        Case 2:22-cv-00025-SMJ    ECF No. 1   filed 02/17/22   PageID.2 Page 2 of 30




 1   marketed and sold unauthorized health insurance plans in Washington. The plans

 2   provided for certain healthcare payment benefits in the event of specified health‐

 3   related contingencies in exchange for a monthly payment. The benefit amount

 4   was tied to the amount of the monthly payment and the cost incurred by the

 5   customer for health‐related medical treatments. This arrangement meets the

 6   definition of “insurance” under Washington statute RCW 48.01.040.

 7         2.    Washington requires companies selling insurance to first obtain a

 8   certificate of authority from the insurance commissioner. Washington’s insurance

 9   commissioner has never issued certificates of authority to Defendants. As such,

10   Defendants’ insurance plans were unauthorized. Moreover, the unauthorized

11   insurance plans Defendants marketed and sold did not meet the minimum

12   benefits, coverage, and other requirements for health insurance under the

13   Affordable Care Act (ACA) and in Washington. They are illegal contracts.

14         3.    Defendants not only marketed and sold illegal insurance plans in

15   Washington but also represented the plans were offered from a Health Care

16   Sharing Ministry (HCSM). This representation was misleading, unfair and/or

17   deceptive. At no time did Defendants’ plans meet the requirements for HCSMs

18   under Washington or federal law.

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     CLASS ACTION COMPLAINT ‐ 2
        Case 2:22-cv-00025-SMJ       ECF No. 1    filed 02/17/22   PageID.3 Page 3 of 30




 1         4.     Plaintiff Martin Bandy, on behalf of himself and all others similarly

 2   situated in Washington, alleges that Defendants’ deceptive and unfair practices

 3   violated the Washington Consumer Protection Act (CPA), chapter 19.86 RCW. He

 4   seeks actual damages related to uncovered health care expenses, premiums paid

 5   and other losses due to Defendants’ marketing and sale of unauthorized health

 6   insurance plans, treble damages, interest, attorneys’ fees, and costs, and any

 7   other relief that the Court deems proper, on behalf of himself and all other

 8   consumers injured by Defendants’ illegal practices.

 9                             II.    JURISDICTION AND VENUE

10         5.     The Court has jurisdiction over this case under 28 U.S.C. § 1332(d)(2)

11   because the matter in controversy exceeds $5,000,000, exclusive of interest and

12   costs, and is a class action in which the named Plaintiff is a citizen of a State

13   different from at least one of the Defendants.

14         6.     Venue is proper under 28 U.S.C. § 1391(b) because a substantial part

15   of the events or omissions giving rise to Plaintiff’s claims occurred in the district

16   and the named Plaintiff resides in the district.

17                                       III.    PARTIES

18         7.     Plaintiff Martin Bandy is a citizen of Washington and a resident of

19   Entiat, Washington, which is in Chelan County. Mr. Bandy was enrolled in a

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     CLASS ACTION COMPLAINT ‐ 3
        Case 2:22-cv-00025-SMJ     ECF No. 1    filed 02/17/22   PageID.4 Page 4 of 30




 1   healthcare plan through Alliance for Shared Health/Shared Health Alliance at all

 2   times relevant to this Complaint.

 3         8.     Defendant Alliance for Shared Health, Inc. (ASH), formerly known as

 4   Island Healthcare, Inc., was formed in the U.S. Virgin Islands as a domestic

 5   nonprofit corporation. The IRS afforded the company 501(c)(3) status on March

 6   19, 2019, and on September 3, 2019, ASH became authorized as a foreign

 7   nonprofit corporation with the Missouri Secretary of State. At all relevant times,

 8   Defendant ASH did business in Washington.

 9         9.     Defendant Christian Discount Alliance, LLC d/b/a Shared Health

10   Alliance (SHA) is a limited liability company formed in Missouri. At all relevant

11   times, Defendant SHA did business in Washington.

12         10.    Defendants represented ASH as a Health Care Sharing Ministry, or

13   HCSM, even though ASH has not been in existence continuously since December

14   31, 1999, as required by 26 U.S.C. § 5000A and RCW 48.43.009.

15         11.    SHA is an insurance producer that markets and sells insurance plans

16   for ASH.

17         12.    Neither ASH nor SHA is authorized or licensed to provide any type of

18   insurance plan in Washington.

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     CLASS ACTION COMPLAINT ‐ 4
        Case 2:22-cv-00025-SMJ        ECF No. 1   filed 02/17/22   PageID.5 Page 5 of 30




 1                              IV.      STATEMENT OF FACTS

 2                 Defendants marketed and sold health insurance plans.

 3         13.   In January 2019, ASH began to offer healthcare plans to Plaintiff and

 4   class members in Washington.

 5         14.   SHA recruited brokers to sell ASH’s healthcare plans, luring them

 6   with the opportunity to “get paid an equitable compensation on a residual basis”

 7   while “solving your clients’ health insurance needs.”

 8         15.   ASH and SHA worked in concert to market and sell the plans. The

 9   documents and program materials found on SHA’s website contained both the

10   ASH and SHA logos and names, with links to purchase the healthcare plans.

11         16.   ASH paid SHA a vendor consulting fee to market and sell ASH’s plans.

12   SHA was also paid through add‐on products members could choose, including lab

13   discounts from Fair Price Labs, prescription advocacy from SHA’s own SHARx

14   program, and Virtual Primary Care from two different entities, www.1800md.com

15   and www.sherpaa.com.

16         17.   Defendants charged “members” a “monthly contribution” to

17   participate in the healthcare plans Defendants marketed and sold in Washington.

18         18.   The amount charged was based on the medical plan selected by the

19   insured. Defendants offered more than a dozen plans, from “basic” and

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     CLASS ACTION COMPLAINT ‐ 5
        Case 2:22-cv-00025-SMJ     ECF No. 1    filed 02/17/22   PageID.6 Page 6 of 30




 1   “preventative” to “max” and “premier.” The plans required members to pay a

 2   deductible, which Defendants call a “Member Responsibility Amount,” or “MRA.”

 3   Once this amount was paid, then medical bills were to be paid in accordance with

 4   membership guidelines for the selected plan.

 5         19.    The plans at the higher levels cost more and ostensibly provided

 6   more robust benefits for covered medical conditions. The guidelines warned

 7   members to “[m]ake your choice wisely, because different programs offer

 8   different levels of health cost sharing support.”

 9         20.    The plans purported to provide coverage for medical expenses.

10   Among other things, the plans were to cover primary care visits, specialist visits,

11   hospitalization, prescription drugs, preventive care, and urgent care.

12         21.    Upon enrolling, Defendants issued ID cards to members. The

13   membership ID cards looked and functioned like an insurance ID card. In fact, the

14   guidelines directed members to “[g]ive providers your ASH membership card if

15   they ask for proof of insurance.”

16         22.    The plans also included established preferred provider or PPO

17   networks through which members could seek care.

18         23.    Healthcare payments were to be made for members who were

19   current on their monthly payments in the event they experience a covered loss,

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     CLASS ACTION COMPLAINT ‐ 6
        Case 2:22-cv-00025-SMJ     ECF No. 1    filed 02/17/22   PageID.7 Page 7 of 30




 1   had met their deductible or “Member Responsibility Amount” or “MRA,” and

 2   otherwise met the coverage requirements set forth in the guidelines.

 3         24.    Under the plans, Defendants made payments for covered losses

 4   directly to providers.

 5         25.    Defendants had the right to “automatically cancel” a membership if

 6   an individual did not pay the monthly fee. Additionally, if an individual’s

 7   membership was delinquent, Defendants would not “share” in the payment of

 8   any medical bills the individual submitted until the individual’s membership

 9   account had no balance owing.

10         26.    The plans Defendants sold to Washington consumers were contracts

11   through which Defendants undertook to indemnify a member upon the

12   occurrence of determinable contingencies and agreed to pay specified amounts

13   upon determinable contingencies. These contracts constitute “insurance” as

14   defined by Washington law. RCW 48.01.040. Defendants were therefore required

15   to comply with the laws in Washington that govern insurers.

16         27.    Washington requires companies selling insurance to first obtain a

17   certificate of authority from the insurance commissioner. Washington’s insurance

18   commissioner has never issued certificates of authority to Defendants.

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     CLASS ACTION COMPLAINT ‐ 7
        Case 2:22-cv-00025-SMJ      ECF No. 1   filed 02/17/22   PageID.8 Page 8 of 30




 1            Defendants’ plans failed to comply with ACA and state insurance
                    requirements for minimum benefits and coverage.
 2
           28.    The Affordable Care Act requires health plans offered in the
 3
     marketplace to cover ten categories of “essential health benefits,” including
 4
     ambulatory patient services, emergency services, hospitalization, pregnancy,
 5
     maternity and newborn care, mental health and substance use disorder services,
 6
     prescription drugs, rehabilitative services and devices, laboratory services,
 7
     preventive and wellness services, chronic disease management, and pediatric
 8
     services. 42 U.S.C. § 18022.
 9
           29.    The ACA and its implementing regulations also include certain
10
     prohibitions on health plans. Among others, an insurer may not impose any pre‐
11
     existing condition exclusions. 42 U.S.C. § 300gg‐3. Plans shall not apply any
12
     waiting period that exceeds 90 days. 42 U.S.C. § 300gg‐7. And a health insurance
13
     issuer offering individual health insurance coverage may not establish any lifetime
14
     or annual limits on the dollar amount of essential health benefits for any
15
     individual, whether provided in‐network or out‐of‐network. 45 C.F.R. § 147.126.
16
           30.    The plans Defendants offered to Washington consumers did not
17
     meet these requirements. For example, ASH’s hospital coverage had exceptions
18
     for pre‐existing conditions, such as pregnancy and a broader exclusion of “bills for
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     CLASS ACTION COMPLAINT ‐ 8
        Case 2:22-cv-00025-SMJ      ECF No. 1   filed 02/17/22   PageID.9 Page 9 of 30




 1   that pregnancy” if member was pregnant at the time of enrollment. ASH also

 2   imposed excessive waiting periods for colonoscopies, hospital expenses, and

 3   surgical expenses, among other things. And ASH imposed annual and lifetime

 4   sharing limits for hospital charges.

 5         31.    The plans Defendants offered to Washington consumers also failed

 6   to comply with requirements Washington imposes above and beyond those

 7   required under the ACA. For example, health plans sold in Washington cannot

 8   deny coverage of an injury only because it was sustained while intoxicated or

 9   under the influence of a narcotic. RCW 48.21.125. ASH, however, limited or

10   excluded the sharing of medical needs when illegal drugs or use of alcohol are a

11   contributing factor. Health plans must provide coverage for all prescription and

12   over‐the‐counter contraceptive drugs, devices and products approved by the FDA

13   without requiring copayments, deductibles, or cost sharing. RCW 48.43.072. ASH,

14   however, would not cover contraceptives or birth control expenses except for

15   “oral, generic birth control.” And while Washington requires health plans to cover

16   mental health services the same way they cover medical and surgical services

17   (RCW 48.44.341), ASH’s coverage was limited to emergency room bills incurred to

18   physically stabilize the patient.

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     CLASS ACTION COMPLAINT ‐ 9
       Case 2:22-cv-00025-SMJ     ECF No. 1   filed 02/17/22   PageID.10 Page 10 of 30




 1           Defendants misrepresented ASH as a Health Care Service Ministry
                    to avoid ACA and state insurance requirements.
 2
           32.    On May 21, 2019, the Washington Office of the Insurance
 3
     Commissioner (OIC) launched a formal investigation into whether ASH was
 4
     operating as an insurer in Washington and, if so, whether it fell within an
 5
     exemption under the ACA for Health Care Service Ministries.
 6
           33.    A company that meets the definition of a “Health Care Service
 7
     Ministry” or “HCSM” is not considered an insurer under Washington law and is
 8
     not required to comply with Washington laws governing insurers. RCW 48.43.009.
 9
           34.    To invoke this exception, an entity must meet the federal definition
10
     of HCSM. See RCW 48.43.009 (“For purposes of this section, ‘health care sharing
11
     ministry’ has the same meaning as in 26 U.S.C. Sec. 5000A.”). Under federal law,
12
     an entity or a predecessor of the entity must, among other requirements, have
13
     “been in existence at all times since December 31, 1999, and medical expenses of
14
     its members have been shared continuously and without interruption since at
15
     least December 31, 1999.” 26 U.S.C. § 5000A(d)(2)(B)(IV).
16
           35.    ASH does not meet this requirement. Neither ASH, nor a predecessor
17
     entity of ASH, has “been in existence at all times since December 31, 1999.”
18
     Neither ASH, nor a predecessor entity of ASH, has shared medical expenses
19

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     CLASS ACTION COMPLAINT ‐ 10
       Case 2:22-cv-00025-SMJ    ECF No. 1   filed 02/17/22   PageID.11 Page 11 of 30




 1   “continuously and without interruptions since at least December 31, 1999.”

 2         36.   Although ASH does not meet the statutory requirements, Defendants

 3   falsely represented, and continue to represent, ASH as an HCSM.

 4         37.   When confronted by the OIC, ASH did not deny that it failed to meet

 5   the statutory definition of an HCSM.

 6    Defendants bootstrapped ASH onto an existing African ministry in a futile effort
             to cure the failure to comply with the requirements for HCSMs.
 7
           38.   Near the end of the OIC’s investigation and in hopes of curing its
 8
     unlawful behavior, ASH claimed Bible Army International Church (BAIC) as its
 9
     predecessor. BAIC is a church that was created in Ethiopia in 1996 in response to
10
     the outbreak of HIV.
11
           39.   ASH based this claim on a “Predecessor Agreement and Conjoining”
12
     entered between ASH and BAIC. The Predecessor Agreement states the parties
13
     intend to “conjoin ASH members to BAIC as a predecessor ministry to ASH, whose
14
     purpose it is to share in health care needs through medical missions, with BAIC
15
     having a nonprofit inception date of February 26, 1995.” Additionally, the
16
     agreement states “ASH seeks to join its members via a monthly membership fee
17
     and adoption of ASH Statement of Standard to BAIC.” Finally, the Agreement
18
     purports to provide ASH members with “grandfather” status under the Affordable
19

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     CLASS ACTION COMPLAINT ‐ 11
       Case 2:22-cv-00025-SMJ     ECF No. 1    filed 02/17/22   PageID.12 Page 12 of 30




 1   Care Act and allow “ASH to meet the federal criteria of the various Safe Harbor

 2   Provisions through a “predecessor” relationship with BAIC.”

 3         40.    The Predecessor Agreement does not establish that BAIC is a

 4   “predecessor” to ASH under the requirements of RCW 48.43.009 and 26 U.S.C.

 5   § 5000A(d)(2)(B)(ii). A predecessor is “[a]n organization whose activities or assets

 6   were taken over by another organization.” See IRS’s Form 1023 Instructions. An

 7   organization that does not have a predecessor is not a successor. In its 2018

 8   application for nonprofit status to the Internal Revenue Service, ASH represented

 9   it was not a successor to another organization. ASH did not acquire BAIC, and the

10   entities did not merge. They remain distinct entities.

11         41.    Similarly, the Predecessor Agreement does not establish that ASH has

12   shared the medical expenses of its members continuously and without

13   interruption since December 31, 1999, another requirement of RCW 48.43.009

14   and 26 U.S.C. § 5000A(d)(2)(B)(ii). This is an impossibility, as ASH did not form

15   until 2017 and did not have any members until 2019.

16      Washington found that ASH is not an HCSM and was not authorized to offer
           insurance plans and that SHA is an unlicensed insurance producer.
17
           42.    The OIC’s investigation determined that ASH did not meet the
18
     statutory definition of an HCSM under Washington or federal law and that ASH
19

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     CLASS ACTION COMPLAINT ‐ 12
       Case 2:22-cv-00025-SMJ      ECF No. 1   filed 02/17/22   PageID.13 Page 13 of 30




 1   operated as an unauthorized insurer in Washington in violation of RCW

 2   48.01.040, RCW 48.01.050 and RCW 48.05.030.

 3         43.   The OIC’s investigation also determined that SHA acted as an

 4   insurance producer without a license in violation of RCW 48.17.060(1). During the

 5   OIC investigation, an SHA representative solicited the OIC investigator to purchase

 6   ASH plans. But SHA did not have a license or registration to transact the business

 7   of insurance in Washington.

 8         44.   On April 22, 2020, the OIC issued ASH an “Order to Cease and

 9   Desist.” This order required ASH to immediately cease and desist from:

10               A.     Acting as an insurer in the state of Washington;

11               B.     Acting as a health care service contractor in the state of

12                      Washington;

13               C.     Engaging in or transacting the unauthorized business of

14                      insurance in the state of Washington;

15               D.     Seeking, pursuing, and obtaining any insurance business in the

16                      state of Washington;

17               E.     Soliciting Washington residents to purchase any insurance to

18                      be issued by an unauthorized insurer; and

19

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     CLASS ACTION COMPLAINT ‐ 13
      Case 2:22-cv-00025-SMJ     ECF No. 1   filed 02/17/22   PageID.14 Page 14 of 30




 1               F.    Soliciting Washington residents to induce them to purchase

 2                     any insurance contract.

 3         45.   A year later, on April 21, 2021, the OIC issued SHA an “Order to Cease

 4   and Desist and Imposing Fine.”

 5         46.   On July 7, 2021, the OIC issued “Consent Orders” against ASH and

 6   SHA. ASH was ordered to cease and desist from further insurance transactions in

 7   Washington and to terminate all existing ASH plans by the end of 2021. SHA was

 8   prohibited from conducting the business of insurance in Washington without

 9   proper authorization, licensure, or registration from the Insurance Commissioner.

10   Defendants sold Plaintiff a sham plan that did not provide the benefits promised.

11         47.   Plaintiff Martin Bandy enrolled in an ASH healthcare plan on April 24,

12   2020—two days after OIC ordered ASH to stop selling healthcare plans in

13   Washington.

14         48.   Mr. Bandy paid a one‐time enrollment fee of $125. In addition, his

15   monthly premium payments were approximately $355.50 per month.

16         49.   Mr. Bandy received what he believed was an insurance card from

17   ASH. The insurance card “certified” Mr. Bandy’s membership in a “Health Care

18   Sharing” community even though ASH has not been certified by any government

19   agency as an HCSM.

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     CLASS ACTION COMPLAINT ‐ 14
       Case 2:22-cv-00025-SMJ     ECF No. 1   filed 02/17/22   PageID.15 Page 15 of 30




 1         50.   On June 1, 2021, Mr. Bandy went to the emergency room after

 2   experiencing symptoms of a stroke and was admitted to the hospital. While in the

 3   emergency room and hospital, he received extensive care.

 4         51.   Defendants denied Mr. Bandy’s claims for coverage of the emergency

 5   room services he received.

 6         52.   Defendants also denied Mr. Bandy’s claims for coverage of services

 7   he received in the hospital, where he stayed overnight.

 8         53.   The health plan sold to Mr. Bandy was insurance under Washington

 9   law, but the plan failed to comply with Washington and federal law in its

10   provisions of benefits. Had Defendants complied with Washington and federal

11   law, they could not refuse to cover the emergency room or hospital services he

12   received.

13         54.   Mr. Bandy has been forced to pay out‐of‐pocket for services he

14   understood would be covered by ASH.

15         55.   Mr. Bandy continues to pay toward these debts, which exceed

16   $40,000.

17               Defendants sold sham plans to more than 3,000 Washingtonians.

18         56.   Mr. Bandy is not alone. OIC determined through its investigation that

19   ASH acted as an insurer at least 3,776 times in Washington, and Washington

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     CLASS ACTION COMPLAINT ‐ 15
       Case 2:22-cv-00025-SMJ      ECF No. 1    filed 02/17/22   PageID.16 Page 16 of 30




 1   consumers paid at least $2,570,170.27 to be ASH members.

 2         57.    OIC received complaints by many other Washington residents who

 3   were duped by Defendants. Several purchased ASH’s plans through online

 4   marketplaces advertising health insurance.

 5         58.    One consumer who purchased an ASH plan complained that ASH

 6   refused to cover a January 2021 emergency room visit for a serious atrial

 7   fibrillation issue. As a result, the consumer faces a bill of $22,347.

 8         59.    A second consumer complained that ASH refused to pay for

 9   emergency gallbladder surgery in August 2020. She told OIC: “They deceived me

10   completely.” She also said she had no idea she had signed up for an “alternative”

11   insurance. Her bills have since gone to collections.

12         60.    A third consumer purchased an ASH plan, which he believed was

13   insurance, just weeks before the OIC issued the Cease and Desist Order to ASH. In

14   September 2020, he was hospitalized. His claims were submitted to ASH, but ASH

15   refused to pay.

16         61.    A fourth consumer purchased an ASH plan she believed was

17   insurance. When she received the ASH “insurance” card in the mail, it said it was

18   ‘NOT INSURANCE” but a religious health care sharing program. She called and was

19   assured that the language was just “boiler plate” and that she was fully insured

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     CLASS ACTION COMPLAINT ‐ 16
       Case 2:22-cv-00025-SMJ    ECF No. 1    filed 02/17/22   PageID.17 Page 17 of 30




 1   and covered for everything but alcohol and drug rehabilitation. She specifically

 2   asked to verify that her doctors were in the “Provider Network,” and was told

 3   they were. Despite these representations, she received billing statements from

 4   her doctors for $16,285.72. Defendants refused coverage, claiming she had a pre‐

 5   existing condition.

 6         62.    A fifth consumer purchased an ASH plan through a broker after doing

 7   extensive research. The consumer obtained prior authorization from ASH to have

 8   hip surgery. After he completed the surgery and racked up more than $90,000 in

 9   medical bills, ASH claimed there was a two‐year waiting period for the surgery,

10   and denied payment for the surgery as involving a pre‐existing condition.

11         63.    A sixth consumer had surgery in May 2020 and could not get ASH to

12   communicate with her or her healthcare provider or to provide any explanation of

13   benefits or sharing. At the time she complained to OIC, the consumer had no idea

14   whether she would be held responsible for the costs of her surgery.

15         64.    A seventh consumer complained that the plan she purchased

16   through ASH and thought was health insurance did not cover what she was told it

17   would cover. She purchased the healthcare plan through a broker after she’d

18   completed online surveys seeking health insurance. The broker assured her that

19   ASH would cover two specific medications for which she needed coverage, along

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     CLASS ACTION COMPLAINT ‐ 17
       Case 2:22-cv-00025-SMJ     ECF No. 1    filed 02/17/22   PageID.18 Page 18 of 30




 1   with visits to her doctor. Almost immediately after purchasing the policy and

 2   paying the monthly contribution, the consumer was told her visits would not be

 3   covered by the plan, and she discovered her prescriptions weren’t covered either.

 4         65.    An eighth consumer complained: “This company refuses to pay my

 5   hospital and medical bills. I have been given a constant string of excuses as to why

 6   and have proven to them, with written documentation, that there is no basis for

 7   refusing to pay. Now when I call they just simply hang up on me.”

 8         66.    A ninth consumer wrote: “After speaking with a broker with whom I

 9   made it clear I needed an insurance plan, I was signed up with this company. It

10   was not until some weeks after I had paid them that I received paperwork and a

11   card. On the card in minuscule writing it states that this is not an insurance plan. I

12   went with it because I needed coverage for my medication. My broker said they

13   could cover my current psychiatrist and my medication. It turns out that was

14   false. ASH gave me instructions on where to find another doctor but withheld the

15   fact that they don’t cover mental health at all.” This consumer canceled the ASH

16   plan and tried, without success, to get a refund.

17         67.    A tenth consumer wrote: “I responded to a [sic] add on the internet

18   for insurance for my wife during open entollment [sic]. It sounded like good

19   coverage at a lower cost than the Kaiser plan she had. I was not told this is a cost

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     CLASS ACTION COMPLAINT ‐ 18
       Case 2:22-cv-00025-SMJ     ECF No. 1    filed 02/17/22   PageID.19 Page 19 of 30




 1   share program and that much of the coverage is parceled out to other companies.

 2   Two days later companies I never heard of were welcoming us to thier [sic]

 3   coverage and funds began to be taken out of my account. This was not the kind of

 4   coverage I wanted and tried to call and cancel. No one answered to [sic] I left a

 5   message to be contacted about cancling [sic] the policy. No response. I left several

 6   messages for many days with no response. On Nov. 4 I was able to reach a person

 7   and explained that I had been trying to cancel for a month. The man said he

 8   understood and would cancel the policy and apologized for no one getting back to

 9   me. He assured me that all monies would be refunded. A total of $877.32 has

10   been taken out of my account and only $145.00 has been refunded.”

11         68.    Yet another consumer wrote: “I was shopping for health insurance

12   yesterday I received a call from Olympia WA I thought I was led to believe I was

13   buying health insurance. I was told he was Insurance agent. I was told month to

14   month. Believing he was from the state approved marketplace I gave him my

15   bank information, signed a digital contract gave him my ssn. I received no copies

16   of the contract, tonight I received documents stating I was now a member of a

17   religious based medical share plan. I tried calling the numbers the line is

18   disconnected shortly after pressing number. It also hangs up with no beep. My

19   email was bounced back. I tried to call agents number it disconnects. I want them

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     CLASS ACTION COMPLAINT ‐ 19
       Case 2:22-cv-00025-SMJ     ECF No. 1    filed 02/17/22   PageID.20 Page 20 of 30




 1   to cancel whatever membership this is, it’s not what I was told it was. I am

 2   recently widowed and my job ended due to store closing. I feel like I was

 3   scammed and now they have all my information.”

 4                                V.    CLASS ALLEGATIONS

 5         69.    Pursuant to Fed. R. Civ. P. 23, Plaintiff brings this action on behalf of

 6   himself and all persons similarly situated. The proposed class is defined as follows:

 7                All Washington residents who contributed to plans from
                  or through Alliance for Share Health, Shared Health
 8                Alliance, or a subsidiary of either, that purported to be
                  “health care sharing” plans at any time between January
 9                1, 2019 and December 31, 2021.

10         70.    The members of each class are so numerous that joinder of all of

11   them is impracticable. Based on the OIC investigation, the class exceeds 3,000

12   persons.

13         71.    There are issues of law and fact common to all class members,

14   including: (1) whether the healthcare plans that Defendants marketed and sold to

15   class members met the legal requirements of an HCSM under 26 U.S.C. § 5000A

16   and RCW 48.43.009; (2) whether Washington insurance law and regulations

17   forbid the marketing and sale of healthcare products in the “business of

18   insurance” without authorization or other legal exception; (3) whether

19   Defendants failed to obtain proper authorization for the marketing and sale of an

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     CLASS ACTION COMPLAINT ‐ 20
       Case 2:22-cv-00025-SMJ     ECF No. 1    filed 02/17/22   PageID.21 Page 21 of 30




 1   insurance product in Washington; (4) whether class members are entitled to (a)

 2   rescission of their plans and refunds of all premiums paid and/or (b) reformation

 3   of the plans to comply with the minimum insurance coverage requirements of

 4   Washington and federal law and processing of all claims for expenses and costs

 5   incurred that would have been covered had the plan(s) properly complied with

 6   those laws; (5) whether Defendants’ actions were unfair and/or deceptive under

 7   the Washington Consumer Protection Act; and (6) whether class members are

 8   entitled to other damages, including statutory treble damages, resulting from

 9   Defendants’ unfair and/or deceptive acts.

10         72.    The claims of the named Plaintiff are typical of the claims of class

11   members because Plaintiff and class members were subject to the same unlawful

12   acts and practices.

13         73.    The named Plaintiff and his counsel will fairly and adequately

14   represent the interests of the class.

15         74.    The common questions of law and fact predominate over any

16   questions affecting only individual class members. The predominant questions of

17   law or fact are clear, precise, well‐defined, and applicable to the named Plaintiff

18   as well as every absent member of the class.

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     CLASS ACTION COMPLAINT ‐ 21
       Case 2:22-cv-00025-SMJ      ECF No. 1    filed 02/17/22   PageID.22 Page 22 of 30




 1         75.    A class action is superior in this case for several reasons, including

 2   but not limited to the following: the case challenges uniform unfair and deceptive

 3   practices; some class members may not have the motivation or resources to bring

 4   their claims individually; and it would be an inefficient use of scarce judicial

 5   resources to require each individual affected by the practices challenged herein to

 6   bring his or her own individual claim.

 7                                             COUNT I

 8                                       ILLEGAL CONTRACT

 9         76.    Plaintiff realleges all prior allegations as though fully stated herein.

10         77.    “Insurance” is “a contract whereby one undertakes to indemnify

11   another or pay a specified amount upon determinable contingencies.” RCW

12   48.01.040.

13         78.    In Washington, the essential elements of an insurance contract

14   include: (1) an insurer; (2) an insured or beneficiary; (3) a premium payment and

15   (4) a loss or injury to be protected against. State ex rel. Fishback v. Globe Casket &

16   Undertaking Co., 82 Wn. 124, 128, 143 P. 878, 879 (1914).

17         79.    ASH is an insurer who contracted to provide health insurance to

18   Plaintiff and the class. Defendants’ portrayal of ASH as a “health sharing ministry”

19   is immaterial. “No one can change the nature of insurance business by declaring

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     CLASS ACTION COMPLAINT ‐ 22
       Case 2:22-cv-00025-SMJ      ECF No. 1    filed 02/17/22   PageID.23 Page 23 of 30




 1   in the contract that it is not insurance.” McCarty v. King Cty. Med. Serv. Corp., 26

 2   Wn.2d 660, 679, 175 P.2d 653, 663 (1946) (citation omitted). “The name that the

 3   parties give to the relationship is not determinative.” Id.

 4         80.    Where the primary purpose of the business is the “collection of fees

 5   or premiums” from members “in consideration” for the provision of “service to

 6   members,” it “performs the functions of an insurer.” McCarty, 26 Wn.2d at 680.

 7   That is exactly what occurred here. Plaintiff and class members are the “insureds”

 8   who paid premiums or monthly “contributions” to ASH, the “insurer,” with the

 9   expectation that future health benefits would be covered under the guidelines.

10         81.    The features of ASH’s healthcare plans are indistinguishable from the

11   features of genuine health insurance: (a) the plans are marketed as providing

12   payment benefits for specified health‐related contingencies in exchange for a

13   monthly payment, and the benefit amounts are tied to the amount of the

14   monthly premium and cost incurred; (b) the healthcare plans charge “members” a

15   “monthly contribution”; (c) the plans require a member to pay a deductible,

16   called a “Member Responsibility Amount” or “MRA”; (d) after the MRA is paid,

17   medical bills are paid in accordance with the plan’s guidelines; (e) the plans

18   purport to provide coverage for medical expenses, including for primary care

19   visits, specialist visits, hospitalization, prescription drugs, preventive care, and

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     CLASS ACTION COMPLAINT ‐ 23
       Case 2:22-cv-00025-SMJ    ECF No. 1    filed 02/17/22   PageID.24 Page 24 of 30




 1   urgent care; (f) members are issued ID cards and urged to “[g]ive providers your

 2   ASH membership card if they ask for proof of insurance”; and (g) payments for

 3   covered eligible medical expenses are made by Defendants directly to providers.

 4         82.   All entities that sell products in Washington meeting the definition of

 5   insurance must obtain a certificate of authorization. RCW 48.05.030. Neither

 6   Defendant obtained such a certificate from the Insurance Commissioner.

 7   Defendants were not authorized to sell healthcare plans.

 8         83.   Defendants are not exempt from the requirements Washington

 9   imposes on insurers because Defendants do not meet the requirements of an

10   HCSM.

11         84.   Defendants marketed and sold unauthorized health insurance plans

12   to Plaintiff and class members in violation of Washington law.

13         85.   Plaintiff and all members of the proposed class are entitled to either

14   (a) rescission of the illegal contracts and return of the insurance premiums paid;

15   or (b) reformation of the illegal contracts to comply with the mandatory minimum

16   benefits and coverage required under Washington law.

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     CLASS ACTION COMPLAINT ‐ 24
       Case 2:22-cv-00025-SMJ     ECF No. 1    filed 02/17/22   PageID.25 Page 25 of 30




 1                                            COUNT II

 2                         WASHINGTON CONSUMER PROTECTION ACT

 3                                DECEPTIVE BUSINESS PRACTICES

 4         86.    Plaintiff hereby incorporates by reference each of the preceding

 5   allegations as though fully set forth herein.

 6         87.    Plaintiff and class members are “persons” within the meaning of the

 7   Washington Consumer Protection Act, RCW 19.86.010(1).

 8         88.    Defendants are “persons” within the meaning of the Washington

 9   Consumer Protection Act, RCW 19.86.010(1).

10         89.    Defendants engaged in a common course of deceptive conduct in

11   violation of RCW 19.86.020. Examples of Defendants’ deceptive conduct include:

12         (a)    Defendants advertised and represented that ASH is an HCSM. This is

13   false and/or misleading because ASH has not “been in existence at all times since

14   December 31, 1999, and medical expenses of its members have been shared

15   continuously and without interruption since at least December 31, 1999.” 26

16   U.S.C. § 5000A(d)(2)(B)(IV); RCW 48.43.009. It is not, as a matter of law, an HCSM;

17   and

18         (b)    Defendants’ advertisements and solicitations deceived or misled, or

19   had the capacity to deceive or mislead, members of the class into believing they

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     CLASS ACTION COMPLAINT ‐ 25
       Case 2:22-cv-00025-SMJ      ECF No. 1   filed 02/17/22   PageID.26 Page 26 of 30




 1   were purchasing authorized health insurance. The look and feel of the advertising

 2   material suggested that the plans were health insurance. Defendants used

 3   insurance cards, PPO networks, guidelines that detail benefits, plan levels, and

 4   health insurance language to create the impression they were offering real health

 5   insurance benefits.

 6         90.    Defendants’ common course of deceptive conduct in violation of

 7   RCW 19.86.020 has caused substantial injury to consumers.

 8         91.    Defendants’ common course of deceptive conduct occurred in trade

 9   or commerce and impacted the public interest because Defendants are in the

10   business of marketing and selling healthcare plans to thousands of consumers in

11   Washington, and thousands of Washingtonians have been affected by

12   Defendants’ deceptive practices.

13         92.    Defendants’ common course of deceptive conduct caused injury to

14   the business or property of Plaintiff and class members.

15         93.    Plaintiff and class members have been damaged in amounts to be

16   determined at trial and under RCW 19.86.090. Plaintiff and the class are entitled

17   to recover such damages, including interest thereon, as well as treble damages,

18   attorneys’ fees, and costs.

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     CLASS ACTION COMPLAINT ‐ 26
       Case 2:22-cv-00025-SMJ     ECF No. 1    filed 02/17/22   PageID.27 Page 27 of 30




 1                                            COUNT III

 2                         WASHINGTON CONSUMER PROTECTION ACT

 3                                 UNFAIR BUSINESS PRACTICES

 4         94.    Plaintiff hereby incorporates by reference each of the preceding

 5   allegations as though fully set forth herein.

 6         95.    Plaintiff and class members are “persons” within the meaning of the

 7   Washington Consumer Protection Act, RCW 19.86.010(1).

 8         96.    Defendants are “persons” within the meaning of the Washington

 9   Consumer Protection Act, RCW 19.86.010(1).

10         97.    Defendants engaged in a common course of unfair course of conduct

11   in violation of RCW 19.86.020. Examples of Defendants’ unfair conduct include:

12         (a)    Defendants purported to exclude certain pre‐existing conditions even

13   though such exclusions are illegal under the ACA and Washington law.

14         (b)    Defendants purported to impose waiting periods even though such

15   waiting periods are illegal under the ACA Washington law.

16         (c)    Defendants failed to provide coverage for treatments and conditions

17   that are mandated “essential” benefits under the ACA and Washington law.

18         (d)    Defendants imposed lifetime caps and limits on coverage that are

19   illegal under the ACA and Washington law.

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     CLASS ACTION COMPLAINT ‐ 27
       Case 2:22-cv-00025-SMJ      ECF No. 1   filed 02/17/22   PageID.28 Page 28 of 30




 1         (e)    Defendants imposed annual caps and limits on coverage that are

 2   illegal under the ACA and Washington law.

 3         (f)    Defendants were not licensed in the State of Washington, yet they

 4   marketed and sold insurance plans to Plaintiff and class members.

 5         98.    Defendants’ common course of unfair conduct in violation of RCW

 6   19.86.020 caused substantial injury to consumers that was not reasonably

 7   avoidable nor outweighed by countervailing benefits to consumers or to

 8   competition.

 9         99.    Defendants’ common course of unfair conduct occurred in trade or

10   commerce and impacted the public interest because Defendants are in the

11   business of marketing and selling healthcare plans to thousands of consumers in

12   Washington. Thousands of Washingtonians have been affected by Defendants’

13   unfair acts and practices.

14         100. Defendants’ common course of unfair conduct caused injury to the

15   business or property of Plaintiff and class members.

16         101. Plaintiff and class members have been damaged in amounts to be

17   determined at trial and under RCW 19.86.090. Plaintiff and the class are entitled

18   to recover such damages, including interest thereon, as well as treble damages,

19   attorneys’ fees, and costs.

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     CLASS ACTION COMPLAINT ‐ 28
       Case 2:22-cv-00025-SMJ      ECF No. 1    filed 02/17/22     PageID.29 Page 29 of 30




 1                                   VI.     JURY DEMAND

 2         Plaintiff requests a trial by jury on all the claims.

 3                                VII.     PRAYER FOR RELIEF

 4         WHEREFORE, Plaintiff requests that this Court:

 5         A.     Certify that this action may proceed as a class action;

 6         B.     Designate Mr. Bandy as class representatives and designate Toby J.

 7   Marshall and Adrienne D. McEntee, Terrell Marshall Law Group PLLC, and Eric S.

 8   Chavez, Axion Law Group, PLLC as class counsel;

 9         C.     Declare that Defendants’ unauthorized health insurance plans were

10   illegal contracts;

11         D.     Declare that Defendants’ actions violated the Washington Consumer

12   Protection Act;

13         E.     Order Defendants to (a) rescind the unauthorized health insurance

14   plans and refund all premiums improperly received from members of the

15   proposed class, including interest; or, at the option of any class member (b)

16   reform the unauthorized health insurance plans to comply with the minimum

17   mandatory benefits required under the relevant state insurance code and federal

18   law, permit class members to submit claims for medical services, costs and other

19   expenses that would have been covered;

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     CLASS ACTION COMPLAINT ‐ 29
       Case 2:22-cv-00025-SMJ    ECF No. 1   filed 02/17/22   PageID.30 Page 30 of 30




 1         F.    Order payment of all other expenses causally related to Defendants’

 2   unfair and/or deceptive acts;

 3         G.    Order treble damages up to $25,000 for each CPA violation;

 4         H.    Order payment of reasonable attorneys’ fees; and

 5         I.    Order any other relief to which the employees may be entitled.

 6         RESPECTFULLY SUBMITTED AND DATED this 17th day of February, 2022.

 7                                   TERRELL MARSHALL LAW GROUP PLLC

 8                                   By: /s/ Toby J. Marshall, WSBA #32726
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     CLASS ACTION COMPLAINT ‐ 30
